                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

      v.
                                                              Case No. 18-CR-154

VAN L. MAYES,

                    Defendant.


    THE UNITED STATES’ RESPONSE TO THE DEFENDANT’S MOTION TO
                   DISCLOSE WITNESS IDENTITIES


      The United States has met all of its discovery obligations and followed the normal

redaction process. The United States redacted the identifying information of certain

witnesses and innocent parties because Van Mayes has repeatedly intimidated and

interfered with witnesses and abused the trust of children who he mentored when he

encouraged them to attack police and taught them how to make Molotov cocktails.

Importantly, a grand jury indicted Mayes with a conspiracy to intimidate, threaten, and

corruptly persuade witnesses. Because these witnesses are protected as confidential

informants and due to significant safety concerns, the government requests that this court

deny the defendant’s motion to disclose the witnesses’ identification information.

                                   I.     Background

      On or about the evening of August 15, 2016, Van Mayes asked adults to gather
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some children from the Sherman Park neighborhood so that they could meet and plan a

firebombing of a Milwaukee Police Station and homes in West Allis. In front of children

(many to whom Mayes was a mentor) and adults, Mayes made Molotov cocktails by

pouring gasoline into glass bottles and placing fabric wicks into the tops. Mayes’ plan

was to have the children create a diversion by throwing rocks at police; then at the same

time, adults would throw the Molotov cocktails at a Milwaukee Police Station and at

residential homes in West Allis “where white people live.” Several citizen witnesses have

provided information regarding Mayes’ criminal activities connected to this event.

Mayes’ statements and video evidence corroborate that his motive was hatred towards

the police. Evidence also shows that Mayes attempted to intimidate and interfere with

witnesses against him.

      Through the pendency of this investigation and post-indictment, Mayes has made

multiple attempts to intimidate and interfere with witnesses: (1) Mayes and others

attempted to interfere with the investigation by lying to law enforcement; (2) Mayes said

he compiled a list of people who received federal subpoenas to testify and intended to

expose those witnesses; (3) Mayes said that once he confirmed the name of one particular

witness in his discovery, he wanted “something done” about that witness; (4) Mayes’

associate said that s/he was gathering all the witnesses who could be identified in the

criminal complaint to develop a story to protect them all from prosecution; (5) one

witness was physically assaulted by an unknown assailant because of his/her

cooperation; and (6) Mayes has posted intimidating video messages, referring to citizen
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witnesses as “snitches” and threatening to find out who made statements to law

enforcement. Due to safety concerns, the United States Attorney’s Office has provided

protective resources to some witnesses.

      Photograph One below is a still photograph from one of Mayes’ 2016 social media

videos referencing civilian witnesses as “snitches.” Photographs Two and Three below

are recent still photographs from Mayes’ Facebook Live account. In Photographs Two

and Three, Mayes is dressed in a tactical vest and has a gun on his person – it is believed

it was a pellet gun. Photograph Three is from a June 23, 2020 Facebook Live video where

the defendant live-streamed an incident in which he and others went to a Milwaukee

residential home and insinuated a child abduction crime was occurring at that house –

these residents did not commit any of the crimes of which Mayes was accusing them.

Sadly, the result was the residents were targeted, shots were fired, and the home was set

on fire by two suspects that same day. Again, this highlights Mayes’ willingness to

encourage extralegal activities to achieve his ends. This issue is addressed in a separate

statement to the court provided by U.S. Probation.

                                 PHOTOGRAPH ONE




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                         PHOTOGRAPHS TWO AND THREE




       For clarification purposes, Mayes identified thirteen sources of information (SOI-

1 through SOI-13)1.

   SOI-1 (“September 6, 2016 Custodial Interview ATF Agents Newport and Tanem of

    Unnamed Individual”). Dkt. #76, page 8. This witness stated that around August 15,

    s/he saw Van Mayes with a bag of rocks that were intended to be thrown at police

    officers, and s/he saw Mayes make Molotov cocktails. This witness also said that s/he

    saw the rioting that occurred at several locations in Milwaukee on August 13, and

    s/he heard that a co-conspirator of Van Mayes had Molotov cocktails on August 13.



1 The government and defendant agree that the “September 16, 2016 Custodial Interview by MPD
of Unnamed Individual” in the defendant’s motion was included in error, so it will not be
addressed. Dkt. #76, page 20.

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    SOI-2 (“September 14, 2016 Custodial Interview by ATF Agents Mason and Randazzo

     of Unnamed Individual”). Dkt. #76, page 9. This witness provided information about

     rioting activity on August 13. This witness said that s/he saw Mayes and others

     around the Sherman Park BP Gas Station (BP Station)2 on August 13. The witness

     explained that s/he participated in the looting, and s/he and others threw Molotov

     cocktails while at the gas station. The witness said adults were handing out Molotov

     cocktails at the BP Station, one of which was Mayes’ co-conspirator from his August

     15 crimes. This witness provided no information regarding the crimes with which

     Mayes is currently indicted.

    SOI-3 (“December 30, 2016 Interview by ATF Agent Hankins and Milwaukee County

     Sheriff Todd Rosenstein of Unnamed Individual”). Dkt. #76, page 9. This witness said

     that s/he was aware of Mayes’ Program the Parks group (This was Mayes’ youth

     mentorship program. Mayes used his connection to children from this group when he

     devised his August 15 Molotov cocktail plan). The witness discussed people

     associated to that program and its recycling practices. The witness also said that s/he

     saw rioting on August 13, including seeing the arson at the BP Station. This witness

     was taken into police custody on August 14, so s/he provided no information

     regarding the crimes with which Mayes is currently indicted.




2   This gas station was eventually burned down by rioters on August 13, 2016.
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   SOI-4 (“ATF report, number 25, investigation no. 778020-16-0066” and “July 20, 2017

    Proffer Interview by ATF Agent Mason of Unnamed Individual”). Dkt. #76, pages 9-

    10, 24-25. This witness provided information about rioting activity on August 13. This

    witness saw Mayes and others at the BP Station on August 13. The witness said that

    Mayes and others kicked in the door to the BP Station, which allowed for looting at

    the location. At the BP Station, the witness saw Mayes with a co-conspirator who the

    witness said was handing out Molotov cocktails. This witness provided no

    information regarding the crimes with which Mayes is currently indicted.

   SOI-5 (“January 26, 2017 Interview by ATF Agents Hankins and Rorabeck of

    Unnamed Individual”; “February 1, 2017 Interview by ATF Agents Hankins and

    Rorabeck of Unnamed Individual”; “July 16, 2018 Interview ATF Agents Hankins and

    Lindeman of Unnamed Individual”; and “May 13, 2019 Interview by ATF Agents

    Hankins and Greenwich of Unnamed Individual”). Dkt. #76, pages 10-11, 14, and 18-

    19. This witness discussed the recycling practices, the purpose, and the people

    associated with Mayes’ Program the Parks group. On August 13, the witness saw the

    BP Station arson from a distance. This witness heard from a Mayes’ associate that

    Mayes and others lied to law enforcement about making Molotov cocktails and had

    “covered up” some of the evidence. After Mayes was indicted, this witness heard

    from a Mayes’ associate who said that s/he was gathering all the witness that they

    could identify in the criminal complaint to develop a “common story” to protect them


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    all from prosecution. This witness also heard Mayes say that he was going to expose

    witnesses against him and that the children who were present during the making of

    the Molotov cocktails would be loyal to him.

   SOI-6 (“February 28, 2017 Proffer by Milwaukee County District Attorney of

    Unnamed Individual”; “October 5, 2016 Custodial Interview by ATF Agents Hankins

    and Connors of Unnamed Individual”; “October 13, 2016 Interview by ATF Agents

    Connors and Hankins of Unnamed Individual”; “October 18, 2016 Interview by ATF

    Agents Connors and Hankins of Unnamed Individual”; and “January 27, 2017 Proffer

    by ATF Agents Hankins and Randazzo of Unnamed Individual”). Dkt. #76, pages 11-

    12, 20-22, and 23-24. This witness explained that Mayes’ Program the Parks did not

    recycle bottles. This witness said that on August 13, s/he was rioting at the BP Station,

    and s/he saw Mayes video recording the looting. This witness said that around

    August 15, s/he was at a residence and was aware of a plan to have children throw

    rocks at police while adults attacked a police station with Molotov cocktails. The

    witness saw Molotov cocktails being made, but could not see everyone’s face and did

    not recall if Mayes was there.

   SOI-7 (“December 7, 2017 Proffer Interview by ATF Agents Hankins and Mason of

    Unnamed Individual”; “January 23, 2018 Proffer by ATF Agent Hankins”; “January

    23, 2018 Facebook messages”; “November 9, 2018 Interview by ATF Agent Hankins




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     of Unnamed Individual”3; “July 19, 2019 Proffer Interview by ATF Agent Hankins of

     Unnamed Individual”; “January 8, 2018 Proffer by ATF Agents Hankins and Barker

     of Unnamed Individual”; and “January 16, 2018 Interview by ATF Agent Hankins of

     Unnamed Individual”). Dkt. #76, pages 12, 13-14, 16, 19-20, and 25-26. This witness

     discussed Mayes‘ Program the Parks group and the people associated with it. This

     witness also explained that around August 15, s/he participated in the illegal activity

     of making Molotov cocktails. The witness saw Mayes, and others, make Molotov

     cocktails and heard the plan discussed by several people, including Mayes, to

     firebomb a Milwaukee police station and attack the south side. The witness explained

     that s/he was physically assaulted by one of Mayes’ associates after the perpetrator

     asked the witness if s/he was cooperating with police. The witness also saw and heard

     Mayes use a cellphone to coordinate a meeting during the Molotov cocktail

     discussions.

    SOI-8 (“August 7, 2018 Interview by ATF Agents Hankins and Lindeman of Unnamed

     Individual” and “August 14, 2018 Interview by ATF Agent Connors of Unnamed

     Individual”). Dkt. #76, pages 14-15, 16. This witness discussed recycling efforts by

     Mayes’ Program the Parks group. This witness also discussed Mayes’ anger towards

     police, and that s/he heard that the plan to make Molotov cocktails came from Mayes.

     The witness also said that if anyone came up with a plan of violence against the police,



3   The correct date for this statement is June 1, 2018. Dkt. #76, page 16.
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    it would be Mayes. This witness stated that Mayes told him/her not to talk on the

    telephone. This witness provided no firsthand information regarding the crimes with

    which Mayes is currently indicted.

   SOI-9 (“August 10, 2018 Interview by ATF Agents Hankins and Connors of Unnamed

    Individual”). Dkt. #76, pages 15-16. This witness heard Mayes direct others to make

    Molotov cocktails and this was done in front of children. SOI-9 also saw Mayes getting

    the materials to make Molotov cocktails and heard a group, which Mayes was part of,

    discussing the plan to use the weapons at a police station. After Mayes was indicted,

    SOI-9 heard Mayes say that once he confirmed the name of a particular witness in his

    discovery, he wanted “something done” about that witness.

   SOI-10 (“February 12, 2019 Proffer by ATF Agent Hankins of Unnamed Individual”;

    “January 4, 2017 Interview by ATF Agents Hankins and Arnold of Unnamed

    Individual”; and “November 27, 2018 Interview with ATF Agent Hankins of

    Unnamed Individual”) Dkt. #76, pages 17-18, 22-23; and 26. This witness discussed

    Mayes‘ Program the Parks group and the people associated with it. This witness also

    explained that around August 15, s/he was present for the planning and the making

    of Molotov cocktails. The witness said that Mayes was making Molotov cocktails in

    front of children and others, and Mayes told a group of adults and children about his

    plan. Mayes told the group that he wanted children to throw rocks at one police

    station to create a diversion, and while that diversion was occurring, others including


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     Mayes would firebomb another police station and set fires to homes in West Allis

     “where white people live.” After the Molotov cocktails were made and the plan was

     finalized and agreed upon, this witness stated that s/he convinced Mayes not to

     execute his plan.

    SOI-11 (“September 1 2016 Interview by ATF Agents Barker and Rorabeck of

     Unnamed Individual”4). Dkt. #76, page 20. This witness discussed prior acts of drug

     dealing by one of Mayes’ co-conspirators. This witness provided no information

     regarding the crimes with which Mayes is currently indicted.

    SOI-12 (“February 9, 2017 Interview by ATF Hankins and Rorabeck of Unnamed

     Individual”). Dkt. #76, page 24. SOI-12 said that s/he was present at the BP Station

     on August 13. This witness provided no information regarding the crimes with which

     Mayes is currently indicted.

    SOI-13 (“July 6, 2017 Interview by ATF Agents Haskins and Barber of Unnamed

     Individual”). Dkt. #76, page 24. This witness discussed events from the BP Station

     arson on August 13. This witness said that s/he and another man saved a white couple

     and a reporter from being attacked.5 This witness provided no information regarding

     the crimes with which Mayes is currently indicted.




4   The correct date for this statement is August 30, 2016. Dkt. #76, page 20.

5 The defendant incorrectly stated that this witness identified Mayes as assisting the white couple
and the reporter. The witness actually said that s/he assisted those people, not Mayes.
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      II.    There Is No Legal Basis to Deviate from the District Court’s Regular
              Procedures and Require Early Disclosure of Witness Information

       If a trial is conducted in this case, the defense will have a right to cross examine

the witnesses the government calls at trial and to pretrial disclosure of those witnesses’

names. This District Court has already established a procedure for when the United States

must provide those witnesses’ names: “seven days prior to the final pretrial conference

date.” See Tips for Parties Practicing before Judge Pepper, Section VII.A., available at

http://www.wied.uscourts.gov/sites/wied/files/documents/Judge_Pepper_tips_5-

24-18.pdf. There is no legal authority – under the Constitution, the Rules of Criminal

Procedure, or the Local Rules – to require the United States to disclose the full name of

government witnesses before then. See, e.g., United States v. Delatorre, 581 F. Supp. 2d 968,

980–81 (N.D. Ill. 2008) (rejecting a claim that a defendant was “entitled to a new trial

because the Court improperly denied his motion for pretrial discovery of the

government’s witness list” and stated that the “argument [was] without merit” because

“throughout trial, the government provided to defense counsel one week in advance the

list of upcoming witnesses and complete copies of their statements, including their

names”).

       There is no general constitutional right to discovery in criminal cases. Weatherford

v. Bursey, 429 U.S. 545, 559 (1977) (“There is no general constitutional right to discovery

in a criminal case.”); United States v. Higgins, 75 F.3d 332, 335 (7th Cir. 1996) (“There is no

constitutional right to pretrial discovery.”) (citing Wardius v. Oregon, 412 U.S. 470, 474

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(1973)); United States v. Johnson, No. 11-20551, 2012 WL 1230138, at *1–2 (E.D. Mich. Apr.

12, 2012) (“Defendant Johnson’s contention that under ‘our system of justice [a] defendant

should have the names of his accusers and the information they claim to inculpate the

defendant sufficiently in advance of trial in order to prepare a defense’ is simply wrong.”)

(emphasis added); United States v. Cerna, No. CR 08-0730 WHA, 2010 WL 4009883, at *2

(N.D. Cal. Oct. 13, 2010) (ordering that officer names and the dates of various events be

unredacted, but noting the self-evident fact that “the name of the witness . . . should

remain redacted for safety reasons”). 6 As a result, Mayes has no constitutional

entitlement to obtain government witnesses’ full names now, nor is the government

violating any of Mayes’ rights by redacting sensitive witness information from discovery.

See United States v. DeRobertis, 766 F.2d 270, 274 (7th Cir. 1985) (“There is no constitutional

right to discover evidence favorable to the state in a criminal case, so the inability of a

defendant to interview witnesses is a constitutional problem only if the state ‘artificially

restricted’ the defendant’s ability to obtain evidence.”).

       The United States cannot artificially restrict a defendant’s ability to have his

defense team go out into the world and obtain evidence. So, for example, the government

cannot instruct a witness to refuse to be interviewed by the defense. But the defense



6 The defendant ultimately has a right to cross-examine witnesses, but witness safety concerns
are so paramount that even at trial, in some cases, the government need not provide a witness’s
real name. See United States v. Ramos-Cruz, 667 F.3d 487, 501 (4th Cir. 2012) (allowing witnesses to
testify under pseudonyms given the possibility of violent retaliation).

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cannot force the government to go out into the world, find a witness, and then make that

witness available to the defense. This is particularly true if doing so might jeopardize that

witness’ safety. The defense can, today, investigate the charged crime, identify potential

witnesses, and seek to interview them. If it does so, the government cannot instruct any

such witnesses not to participate in the defense’s investigation. But the government does

not artificially restrict the defendant’s access to a witness by not telling the defense that

witness’s name.

       Similarly, Federal Rule of Criminal Procedure 16 does not require pretrial

disclosure of potential prosecution witnesses. Rather, Rule 16’s exemptions from general

disclosure requirements include material that might contain sensitive witness

information, such as statements of prospective government witnesses and reports created

by government agents in connection with investigating or prosecuting the case. See United

States v. Fort, 472 F.3d 1106, 1109-10 (9th Cir. 2007).

       Also, Brady v. United States, 397 U.S. 742 (1970), has no effect on this analysis. There

is nothing independently exculpatory about the names of the witnesses involved. The

witnesses were children and known associates of Mayes who live in close proximity to

the defendant. These witnesses have an obvious safety interest in their personal

identifying information not being turned over to the defense team of a man who was

charged by a grand jury with witness intimidation.

       In this District, the United States generally follows an “open file” discovery policy

that is more generous than the requirements of Rule 16. The “open file” policy is
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memorialized in the Local Rules. Those Rules establish that, even when following its

“open file policy,” the government “retains the authority to redact from open file material

anything … that the government reasonably believes … would jeopardize the safety of a

person other than the defendant.” Local Rule 16(a)(2). The Local Rules also provide that

“open file” material does not include “material identifying confidential informants.”

Local Rule 16(a)(3).

       Under the Local Rules, the defendant is permitted to challenge the government’s

redactions. Local Rule 16(a)(2). That challenge turns on whether the redacted material

“identif[ies] confidential informants” – in which case the material is not subject to “open

file” discovery at all – and, even if no confidential informants are involved, whether “the

government reasonably believes [the redacted material] would jeopardize the safety of a

person other than the defendant.” Local Rule 16(a)(2), (a)(3). In this case, the government

should prevail on both criteria: the government witnesses are protected as a “confidential

informants,” and therefore privileged; and even if not, the government “reasonably

believes” that releasing their identities could “jeopardize [their] safety.” The defense has

not made, and cannot possibly make, a showing the government does not hold that belief

reasonably and in good faith.

       The defense will ultimately have a right to cross examine the government’s

witnesses and to pretrial disclosure of those witnesses’ names. In this case, which is

governed by the District Court’s rules, the government will be required to turn over its

witness list seven days before the pretrial conference (i.e., approximately one month
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before trial). And should this case go to trial and any of the people whose names the

defendant presently requests be included on the United States’ witness list, the defense

will then have those names. But, as has been explained by a number of courts in this

circuit, defendants are not entitled to any more than that. Because the government has

agreed to disclose on the terms addressed above, the defendant’s request on this point is

moot.

III.    The Personal Identifying Information of Confidential Informants is Privileged

        As Local Rule 16(a)(2), (a)(3) recognize, the government has a “limited privilege”

to withhold the identity of an informant from a criminal defendant. United States v. Harris,

531 F.3d 507, 514 (7th Cir. 2007) (citing Roviaro v. United States, 353 U.S. 53, 59-60 (1957)).

“The government is granted this limited privilege as a right, and need not make a

threshold showing of likely reprisal or retaliation against the informant in order to assert

the privilege.” United States v. Valles, 41 F.3d 355, 358 (7th Cir. 1994) (citing Dole v. Local

1942, 870 F.2d 368, 372 (7th Cir. 1989)). “The purpose of the privilege is the furtherance

and protection of the public interest in effective law enforcement. The privilege

recognizes the obligation of citizens to communicate their knowledge of the commission

of crimes to law-enforcement officials and, by preserving their anonymity, encourages

them to perform that obligation.” Roviaro, 353 U.S. at 59.

        When determining whether to compel disclosure of an informant’s identity, courts

must balance “the public interest in protecting the flow of information against the

individual’s right to prepare his defense.” Id. at 62. “Whether a proper balance renders
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nondisclosure erroneous must depend on the particular circumstances of each case,

taking into consideration the crime charged, the possible defenses, the possible

significance of the informer’s testimony, and other relevant factors.” United States v.

Andrus, 775 F.2d 825, 841-42 (7th Cir. 1985) (quoting Roviaro, 353 U.S. at 62.). Relying on

Roviaro, the Seventh Circuit has noted that “the defendant must establish a genuine need

for disclosure before disclosure should be ordered.” Id. at 842.

       “[T]he nature of the CI’s role [is] an important factor to consider when determining

whether that informant’s identity should be disclosed. United States v. Wilburn, 581 F.3d

618, 623 (7th Cir. 2009) (citing Harris, 531 F.3d at 515.) “[W]hen the confidential informant

[is] a mere ‘tipster’—someone whose only role was to provide the police with the relevant

information that served as the foundation for obtaining a search warrant—rather than a

‘transactional witness’ who participated in the crime charged against a defendant or

witnessed the event in question, disclosure would not be required.” Id. In Roviaro, the

Court required disclosure of a confidential informant who was the sole participant, other

than the defendant, in the transaction charged against the defendant. 353 U.S. at 64. The

Court found the informant’s testimony “highly relevant” because he “had helped to set

up the criminal occurrence and had played a prominent part in it.” Just because a witness

is a transactional witness it does not automatically justify disclosure of the witness’

identity. United States v. McDowell, 687 F.3d 904, 911 (7th Cir. 2012). The defendant would

still need to establish that knowing that the witness’ identity is “relevant and helpful to

his defense or is essential to a fair determination of a cause,” Wilburn, 581 F.3d at 623.
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       SOIs 7 and 10 plainly fall into the “transactional witness” category. SOIs 1, 2, 4, 5,

6, 8, and 9 could arguably fall into the “transactional witness” or “tipster” categories.

Nonetheless, for these witnesses, the government has already provided the substance of

the witnesses’ statements, and the defendant has failed to establish a legitimate reason

why the witnesses’ identities is relevant or essential to his defense.

       SOIs 3, 11, 12, and 13 plainly fall into the “tipster” category. They are all civilian

“tipsters” who voluntarily told police about suspicious activity, which proved relevant

to a crime and served as background to the investigation or as part of the basis for filing

a complaint and obtaining an arrest warrant. These are witnesses who did not participate

in the specific crimes with which Mayes is charged, and they become involved through

no choice of their own – they merely witnessed parts of the surrounding events and then

cooperated with a law enforcement investigation. When, as here, “the confidential

informant [is] a mere ‘tipster’,” the Seventh Circuit has stated that “disclosure [of

identity] would not be required.” United States v. Wilburn, 581 F.3d 618, 623 (7th Cir. 2009)

(citing Harris, 531 F.3d at 515). Again, for these witnesses, the government has already

provided the substance of the witnesses’ statements, and the defendant has failed to

establish a legitimate reason why the witnesses’ identities is relevant or essential to his

defense.

       Mayes has the full set of reports, search warrant materials, witness statements, and

video evidence. Mayes has not identified any pressing need to have the SOIs’ names prior

to the normal process identified by the District Court. In his brief, the defendant showed
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how he has already used those statements to prepare his defense – Mayes discusses

multiple statements that he believes to be inconsistent and/or impeachable. The

defendant has not offered anything beyond speculation that talking to these witnesses

could reveal something more than what they have already stated. The concern for the

witnesses’ safety clearly outweighs the defendant’s unformed reasons for additional

interviews.

IV.    The Government Reasonably Believes That Redacting The Witnesses’ Names
                           Will Help Protect Their Safety

       A grand jury has indicted Mayes with intimidating witnesses, teaching children

and others how to make Molotov cocktails, conspiring with others to firebomb a police

station, using a destructive device, encouraging people to riot, making a firearm, and

being a felon in possession of a firearm. Mayes has repeatedly intimidated and interfered

with witnesses and abused his mentoring responsibilities to children by encouraging

them to attack police and teaching them how to make Molotov cocktails. Mayes now

seeks premature disclosure of the personal identifying information of citizen witnesses

who have provided information to law enforcement regarding his criminal activities.

Criminal Local Rule 16(a)(2) allows the government to protect citizen witnesses by use of

the redaction process.

       Criminal Local Rule 16(a)(2) states: “the government retains the authority to redact

from open file material anything . . . that the government reasonably believes . . . would

jeopardize the safety of a person other than the defendant.” In these circumstances, the

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government has taken the reasonable step of redacting these witnesses’ full name from

reports, while still producing full statements in reports to Mayes pursuant to the “open

file” policy. That limited redaction protects witness safety while still providing Mayes

with all of the substantive evidence against him. The names of these witnesses are not

exculpatory evidence.

       In order for the defense to make any use of witness names, defense investigators

would need to go out into the community on behalf of Mayes in order to run down the

named witnesses. Those names would then, necessarily, be put out into the community

and come to the attention of the witnesses’ and the defendant’s family and associates,

which would expose the witnesses to a serious threat that Mayes has already shown that

he is willing to employ.

       The United States Attorney’s Office for the Eastern District of Wisconsin typically

abides by its “open file” policy. It is an unusual policy within the Department of Justice,

and it depends heavily on the safety-driven redaction rights retained by the government

and on the exclusion of confidential informant information. If the government is unable

to withhold information identifying confidential informants or protecting citizen safety

from reports to which the defense would not be entitled absent the “open file” policy,

then the government may be forced to join nearly every other United States Attorney’s

Office in the country and abandon that policy. Furthermore, there is no trial date set in

this case, so it would be unsound to jeopardize innocent people’s safety indefinitely as

this case moves through the pretrial process.
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 Dated at Milwaukee, Wisconsin, this 26th day of June, 2020.


                                         Respectfully submitted,

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